Case 3:20-cv-00098-REP Document 236 Filed 05/05/20 Page 1 of 3 PageID# 4675



                      UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

                                                  )
 STEVES AND SONS, INC.,                           )
                                                  )
                       Plaintiff,                 )
                                                  )      Civil Action No. 3:20-cv-98
 v.                                               )
                                                  )
 JELD-WEN, INC.,                                  )
                                                  )
                       Defendant.                 )
                                                  )
                                                  )



                                    [PROPOSED] ORDER

       Having considered Defendant JELD-WEN INC.’S MEMORANDUM REGARDING

CURRENT DISCOVERY AND SCHEDULING DISPUTES (Dkt. No. 199); Plaintiff STEVES

AND SONS, INC.’S SUBMISSION REGARDING DISCOVERY DISPUTES (ECF No. 200);

JELD-WEN’S RESPONSE TO STEVES’ MEMORANDUM REGARDING DISCOVERY AND

SCHEDULING DISPUTES (Dkt. No. 210); STEVES’ RESPONSE TO JELD-WEN’S

MEMORANDUM REGARDING CURRENT DISCOVERY AND SCHEDULING DISPUTES

(Dkt. No. 2110; and the parties’ arguments presented at the telephonic hearing held on April 27,

2020, it is hereby ORDERED:

       JELD-WEN’s objection to Steves’ Request for Production 43 is SUSTAINED IN PART

and OVERRULED IN PART. JELD-WEN shall produce unredacted versions of pages 24 through

26 of ECF 197 from the Grubb Lumber docket. Should JELD-WEN be required to seek

amendment of the Grubb Lumber protective order before some part of that material can be

provided to Plaintiffs, JELD-WEN shall raise the issue with Judge Gibney no later than Monday,
Case 3:20-cv-00098-REP Document 236 Filed 05/05/20 Page 2 of 3 PageID# 4676



May 4, 2020. JELD-WEN shall produce by May 4, 2020, all deposition transcripts where the

witness deposed is a current or former JELD-WEN employee, as well as all deposition exhibits

from those depositions.     JELD-WEN shall provide to Plaintiffs by April 28, 2020 all

interrogatories and requests for admission JELD-WEN has responded to in the Grubb Lumber

litigation. Steves shall provide by April 29, 2020 the list of material found therein that Steves

would like produced.      If necessary, the parties shall further meet and confer to resolve

disagreements on April 30, 2020.

       Steves’ request that JELD-WEN be ordered to produce complete data responsive to

Requests for Production 3, 4, 5, 7, 9, 10, & 11 by a date certain is GRANTED IN PART and

DENIED IN PART. JELD-WEN shall produce complete data responsive to RFPs 4, 5, 7, 9, 10 &

11, with the exception of data responsive to RFP 4 from JELD-WEN’s Latvian doorskin facility,

by 12 P.M. Eastern on April 29, 2020. With respect to data responsive to RFPs 3 and 4 from

JELD-WEN’s Latvian facility, JELD-WEN represents that it will produce the data as soon as

possible.

       It is so ORDERED.




Richmond, Virginia                          Robert F. Payne
Date: May ___, 2020                         Senior United States District Judge




                                               2
Case 3:20-cv-00098-REP Document 236 Filed 05/05/20 Page 3 of 3 PageID# 4677



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2020, I caused a copy of the foregoing to be electronically
filed using the CM/ECF system, which will send notification to counsel of record of such filing by
operation of the Court’s electronic system. Parties may access this filing via the Court’s electronic
system.


                                                      /s/ Lewis F. Powell III
                                                      Lewis F. Powell III




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